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CERTIFICATE OF SERVICE

I, Alice Griffin, certify that on December 17, 2019 I caused the foregoing Response to be
served upon the parties named below in the manner indicated.

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